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                        EXHIBIT 10
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                                       ASSIGNMENT AGREEMENT



             This agreement ("Agreement") is made as of May 15, 2012 as between Amelia Davis, an
     individual, and Jim Marshall Photography LLC, a limited liability company organized and
     existing under the laws of the State of California, with respect to the following:

             A.      Jim Marshall died on March 24,2010;

            B.      The Estate of James J. Marshall was administered in San Francisco Superior
     Court, Case No. PES-10-293338, resulting on or about May 2, 2012, in an Order For Final
     Distribution On Waiver Of Account that, pursuant to the will of Jim Marshall, vested in Amelia
     Davis, as sole beneficiary ("Davis") all assets of the Estate, inclusive of the following rights:


                     (a) All Jim Marshall's rights of publicity, intellectual property rights,
     trademarks, copyrights, and other publishing rights owned by Jim Marshall or his Estate, or held
     in or passing to his Estate. Such rights include all intellectual property rights, copyrights, and
     other publishing rights associated with, arising out of the use of, or related in any manner to the
     negatives, photographs, images, and other works of art created by Jim Marshall as a photographer
     and artist
                     (b) All Jim Marshall's rights of publicity, intellectual property rights,
     trademarks, copyrights, and other rights associated with, or arising out of the use of, Jim
     Marshall's name, voice, signature, photograph, or likeness, in any manner, including, without
     limitation, on or in products, merchandise, or goods, or for purposes of advertising or selling, or
     soliciting purchases of products, merchandise, goods or services. Such rights shall include all
     rights under existing or proposed agreements that license or otherwise affect the use of any or all
     such rights.
                     (c) The rights, including rights of consent, established by Section 3344 and
     Section 3344.1 of the California Civil Code and the entire interest in all rights and protections
     granted under such Sections.

                    (d)     All goodwill associated with the rights described in paragraphs (a) through
     (c) above.

                    (e)     All rights to sue for past infringement of the rights described in paragraphs
     (a) through (d) above.
                    (1)     All such rights identified in (a) through (e) above are referred to herein as
     the "Marshall Intellectual Property Rights."


             C.      Davis hereby desires to assign all of her right title and interest in the Marshall
     Intellectual Property Rights to Jim Marshall Photography LLC;




                                                                                                MARSHALL 00062
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          Now, therefore, for good and valuable consideration, receipt of which is hereby
    acknowledged, the parties agree as follows:

            I.     Davis hereby assigns all Marshall Intellectual Property Rights to Jim Marshall
    Photography LLC. The parties agree to execute any and all documents necessary to effectuate
    the foregoing, including the execution and recordation of any assignments of specified copyright
    registrations with the Copyright Office and/or trademark registrations with the United States
    Patent and Trademark Office.

            2. This Agreement contains the entire agreement of the parties and supersedes all
    prior agreements and understandings, both written and oral, between Davis and Jim Marshall
    Photography with respect to the subject matter hereof.


                                                        JIM MARSHALL PHOTOGRAPHY LLC



                                                        By:




                                                                                                MARSHALL 00063
